Case 2:04-cV-02620-.]DB-tmp Document 57 Filed 07/06/05 Page 1 of 2 Page|D 56

b

mo ev i£___. on
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 _ ,
WESTERN DIVISION JUL 6 PH 3 |6

 

U.S, vZ`.\§S`I‘.,Q,.‘@CT COlBT
W GF- z?»s; ir;‘&'MPHIS
MEMPHIS PUBLISHING CO.,

Plaintiff,
VB.

Civ. NO. 04-2620-B[P

NEWSPAPER GUILD OF MEMPHIS,
LOCAL 33091,

Defendants.

~._r-\_¢\\_¢\._rvv~_¢`_r~_r~._r\_n~..z

 

ORDER GRANTING PLAINTIFF'S MOTION FOR LEAVE TO FILE A CONFORMED
COPY OF EXPEDITE MOTION TO STAY ARBITRATION PENDING LAWSUIT

 

Before the Court is Plaintiff'S Motion for Leave to file a
Conformed Copy cf Expedite Motion to Stay Arbitration Pending
Lawsuit, filed June 30, 2005 (Dkt #50). For good cause Shown,
plaintiff'S motion is GRANTED.

IT IS SO ORDERED.

_/\O/K)-\

"--_

TU M. PHAM‘
United States Magistrate Judge

"C\`wL\ S`,my’

Date U

C'. ea 10 aloe

with Hu\e 58 andfor 79(3) FRC

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CV-02620 Was distributed by faX, rnail, or direct printing on
July 7, 2005 to the parties listed.

ESSEE

 

Barbara Camens

BARR & CAb/[ENS

1025 Connecticut Avenue
Suite 712

Washington, DC 20036

L. Michael Zinser

THE ZINSER LAW FIRM
150 Second Ave.7 N.

Ste. 410

Nashville, TN 37201

Glenn E. Plosa

THE ZINSER LAW FIRM
150 Second Ave.,N.

Ste. 410

1\/lemphis7 TN 37201

Samuel Morris

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.

50 N. Front St.
Ste. 800
1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

